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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                           MDL NO 2924
 PRODUCTS LIABILITY                                                                    20-MD-2924
 LITIGATION
                                                             JUDGE ROBIN L ROSENBERG
                                                     MAGISTRATE JUDGE BRUCE REINHART

 __________________________________/

 THIS DOCUMENT RELATES TO:                                     JURY TRIAL DEMANDED

 GERALDINE MOLYN

                                  SHORT-FORM COMPLAINT

        The Plaintiffs named below, by counsel, files this Short Form Complaint against

 Defendants named below. Plaintiffs incorporate by reference the allegations contained in the

 Master Personal Injury Complaint (“MPIC”) in In re: Zantac (Ranitidine) Products Lability

 Litigation, MDL No. 2924 (S.D. Fla). Plaintiffs file this Short-Form Complaint as permitted by

 Pretrial Order No. 31.

         Plaintiffs select and indicate by completing where requested, the Parties and Causes of

 Actions specific to this case. Where certain claims require additional pleading or case specific facts

 and individual information, Plaintiffs shall add and include them herein.

        Plaintiffs, by counsel, allege as follows:

                       I.      PARTIES, JURISDICTION, AND VENUE

    A. PLAINTIFF(S)

        1.      Plaintiff(s) GERALDINE MOLYN brings this action (check the applicable
                designation):

                                On behalf of himself;

                                In representative capacity as the personal representative, on behalf
                                of the injured party




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        2.      Injured Party is currently a resident and citizen of Greer, South Carolina and claims
                damages as set forth below.

 If any party claims loss of consortium,

        3.      N/A alleges damages for loss of consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of N/A.

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                N/A.

    B. DEFENDANT(S)

        6.      Plaintiff(s) name(s) the following Defendants from the Master Personal Injury
                Complaint in this action:

                    a. Brand Manufacturers:
                             SANOFI S.A.,
                             SANOFI US SERVICES, INC.,
                             SANOFI-AVENTIS U.S. LLC,
                             BOEHRINGER INGELHEIM PHARMACEUTICALS, INC.,
                             CHATTEM, INC.,
                             GLAXOSMITHKLINE, LLC,

                    b. Generic Manufacturers: Unknown at this time

                    c. Distributors: Unknown at this time

                    d. Retailers: Unknown at this time

                    e. Repackagers: Unknown at this time

                    f. Others Not Named in the MPIC:
                             DOES 1-100

    C. JURISDICTION AND VENUE

        7.      Identify the Federal District Court in which Plaintiff(s) would have filed this action
                in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
                Court to which their original action was removed]:
                UNITED STATES DISTRICT COURT FOR THE DISTRICT OF SOUTH
                CAROLINA

        8.      Jurisdiction is proper upon diversity of citizenship.




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                                   II.    PRODUCT USE

       9.    The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                             By prescription

                             Over the counter

       10.   The Injured Party used Zantac and/or generic ranitidine from approximately
             (month, year) January 2014 to December 2018.

                                III.     PHYSICAL INJURY

       11.   As a result of the Injured Party’s use of the medications specified above, she was
             diagnosed with the following specific type of cancer (check all that apply):

  Check all Cancer Type                                          Approximate Date of
  that                                                           Diagnosis
  apply
            BLADDER CANCER
            BRAIN CANCER
            BREAST CANCER                                        11/13/2016
            COLORECTAL CANCER
            ESOPHAGEAL/THROAT/NASAL CANCER
            INTESTINAL CANCER
            KIDNEY CANCER
            LIVER CANCER
            LUNG CANCER
            OVARIAN CANCER
            PANCREATIC CANCER
            PROSTATE CANCER
            STOMACH CANCER
            TESTICULAR CANCER
            THYROID CANCER
            UTERINE CANCER
            OTHER CANCER: __________
            DEATH (CAUSED BY CANCER)

       12.   Defendants, by their actions or inactions, proximately caused the injuries to
             Plaintiff(s).



                       IV.      CAUSES OF ACTION ASSERTED

       13.   The following Causes of Action asserted in the Master Personal Injury Complaint
             are asserted against the specified defendants in each class of Defendants



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             enumerated therein, and the allegations with regard thereto are adopted in this Short
             Form Complaint by reference.

    Check if   COUNT Cause of Action
    Applicable
                 I   STRICT PRODUCTS LIABILITY – FAILURE TO WARN

                  II      STRICT PRODUCTS LIABILITY – DESIGN DEFECT

                  III     STRICT PRODUCTS LIABILITY – MANUFACTURING
                          DEFECT

                  IV      NEGLIGENCE – FAILURE TO WARN

                  V       NEGLIGENT PRODUCT DESIGN

                  VI      NEGLIGENT MANUFACTURING

                 VII      GENERAL NEGLIGENCE

                 VIII     NEGLIGENT MISREPRESENTATION

                  IX      BREACH OF EXPRESS WARRANTIES

                  X       BREACH OF IMPLIED WARRANTIES

                  XI      VIOLATION OF CONSUMER PROTECTION AND
                          DECEPTIVE TRADE PRACTICES LAWS and specify the state’s
                          statute below:
                          South Carolina
                 XII      UNJUST ENRICHMENT

                 XIII     LOSS OF CONSORTIUM

                 XIV      SURVIVAL ACTION

                 XV       WRONGFUL DEATH

                XVI       OTHER:
                XVII      OTHER:

             If Count XVI or Count XVII is alleged, additional facts supporting the claim(s):




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                                            V.     JURY DEMAND

        14.     Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.

                                      VI.        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

 inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

 action, jointly and severally to the full extent available in law or equity, as requested in the Master

 Personal Injury Complaint.

 DATED: September 16, 2021                               Respectfully submitted,

                                                         By: /s/ Craig W. Carlson
                                                         Craig W. Carlson
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